           Case 1:18-cv-02340-RJL Document 82-1 Filed 04/29/19 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA et al.,

                        Plaintiffs,
                                                          Case No. 1:18-cv-02340-RJL
v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                        Defendants.



                                      [PROPOSED] ORDER

         Having reviewed the Motion of the United States to Limit the Scope of the Tunney Act

Hearing and Exclude Irrelevant and Undisclosed Testimony, the Court GRANTS the Motion. It

is HEREBY ORDERED that

      1. The scope of the Tunney Act hearing will be limited to the adequacy of the remedy for

         the violations alleged in the Complaint;

      2. Professor Greaney, Dr. Singer, Dr. Burns, Dr. Wohlfeiler, and Dr. Moss will be stricken

         from the witness lists and will be excluded from offering testimony;

      3. All testimony or evidence regarding potential violations not alleged in the Complaint is

         excluded, including all proposed testimony highlighted in blue in the United States’

         attachments;

      4. All legal opinions are excluded, including all proposed testimony highlighted in green in

         the United States’ attachments;
    Case 1:18-cv-02340-RJL Document 82-1 Filed 04/29/19 Page 2 of 2



5. All unsupported opinion testimony is excluded, including all proposed testimony

   highlighted in yellow or blue in the United States’ attachments.

   IT IS SO ORDERED by the Court, this _______ day of _______________, 2019.




                                              _______________________________
                                                  United States District Judge
